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EXHIBIT A
 

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43-CV-2014-900138.00
CIRCUIT COURT OF
LEE COUNTY, ALABAMA

 

MARY B. ROBERSON, CLERK...

IN THE CIRCUIT COURT OF LEE COUNTY, ALABAMA

SAUCIER INVESTMENTS, LLC, *
*
Plaintiff, **
*
v. * Civil Action No. 43-CV-2014-
*
* JURY TRIAL DEMANDED
REGENERATION, LLC, ROY W. *
GRANGER, AL & SONS CORP., *
AND AL MITCHELL, *
*
Defendants.
COMPLAINT
I, INTRODUCTION
1. This is a Complaint seeking damages for the acts or omissions of the Defendants.
Il. PARTIES
2. The Plaintiff, Saucier Investments, LLC, is an Alabama limited liability company

located in Tallassee, Elmore County, Alabama. Its sole member is Darryl E. Saucier who is a
resident of Tallassee, Elmore County, Alabama.

3. Defendant Regeneration, LLC, is an Alabama limited liability company located in
Alexander City, Tallapoosa County, Alabama.

4, On information and belief, its sole member is Defendant Roy W. Granger who
resides at 16935 Central Plank Road, Eclectic, Alabama 36024.

5. Defendant Al & Sons Corp. is a corporation organized and existing under the laws
of the State of Florida. Al & Sons Corp. was at all times material to this lawsuit doing business
in Alabama, specifically, in Lee County, Alabama.

6. On information and belief, its President is Defendant Al Mitchell.
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Il. FACTS GIVING RISE TO CAUSES OF ACTION

7. Saucier Investments, LLC, is engaged in the business of buying investment

properties, among other things.

8. Saucier Investments purchased certain property located in Opelika, Lee County,

' Alabama, specifically, the old West Point Pepperell Manufacturing facility located at 2401 1*

Avenue in Opelika, Alabama (the “mill”).

9. Saucier Investments contracted with Regeneration, LLC, to deconstruct the mill
located on 1% Avenue in Opelika. On information and belief, the mill contained approximately
270,000 square feet spread over three (3) stories.

10. Regeneration contracted with Al & Sons Corp. to assist with removal of metal in
a portion of the mill.

11. On March 12, 2013, the Defendants were performing deconstruction in an area of
the mill on the third floor where the “lint house” or “filter house” was located. The area
contained lint, waste cotton, cotton dust and industrial filters.

12. At various times during their work in and around the lint house, the Defendants
used a outting torch or a demolition saw to cut the metal. They also smoked in the area.

13. On March 12, 2013, the Defendants were using a demolition saw to cut the metal.
When the saw contacted the metal, sparks were thrown off.

14. As a result of these sparks, small lint fires occurred daily for approximately two
(2) weeks prior to March 12, 2013. The lint fires usually had a small amount of smoke but no
visible flame and could be detected by sight or by smell. They were extinguished in a number of

ways, including, stomping on them, pouring water on them and extinguishing them with a fire

extinguisher.
 

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15. The Plaintiff did not know of these daily fires until after the fire on March 12,
2013, which significantly damaged the property.
16. During the work day of March 12, 2013, several small lint fires occurred in the

lint house area. These were extinguished by the Defendants.

17. Before the Defendants left the lint house area on March 12, 2013, the floor was
swept and the lint and other debris were consolidated into one large pile.

18, At the end of the work day on March 12, 2013, the Defendants failed to take
appropriate and necessary action to prevent a fire from occurring in this particular part of the
mill. Asa result, a fire began in the particular part of the property in which the Defendants were
working, that is, the lint house area, and spread throughout the entire mill. The fire significantly
damaged the lint house area, as well as the remainder of the mill.

19.  Atall times material hereto, the employees of the Defendants were acting within
the line and scope of their employment.

20. Prior to the fire, Saucier Investments had entered into a contract with a developer
for the purchase and development of the mill facility.

21. Asa result of the fire and the significant damage caused by it, the contract with

the developer was lost.

22. | Additionally, as a result of the fire, the Plaintiff incurred significant additional

cleanup costs.

IV. COUNT ONE - NEGLIGENCE OR WANTONNESS

23, The Plaintiff adopts and realleges herein each and every matter set forth

hereinabove as if fully set forth herein.
 

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24. The Defendants owed a duty to the Plaintiff to exercise due care in the
deconstruction in the lint house area.

25. On about the 12 day of March, 2013, in Opelika, Lee County, Alabama, the
Defendants negligently and/or wantonly caused or allowed a fire to begin in that particular part
of the property where they were working, that is, the lint house area of the mill located on 1*
Avenue in Opelika, Alabama.

26. As a proximate consequence of the Defendants’ said negligence and/or
wantonness, the fire significantly damaged that particular part of the mill where the
deconstruction was taking place, namely, the lint house area, as well as the entire mill, thereby
damaging the Plaintiff.

WHEREFORE, THE PREMISES CONSIDERED, Saucier Investments demands
judgment against the Defendants in an amount to be determined by the jury and costs.

V. COUNT TWO - NEGLIGENT OR WANTON SUPERVISION

27. Plaintiff adopts and realleges herein each and every matter set forth hereinabove
as if fully set forth herein.

28. The employees of the Defendants were aware of fires in the lint house area on the
third floor of the mill for at least two weeks prior to March 12, 2013.

29. - The Defendants knew, or should have known, of the fact that these fires were
starting in and around the lint house area where work was being done by their employees who
were acting within the line and scope of their employment.

30. The Defendants negligently or wantonly failed to exercise appropriate supervision

over their employees while they were working in the lint house area.
 

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31. As a proximate consequence of the Defendants’ said negligence and/or
wantonness, a fire began and significantly damaged that particular part of the mill where the

deconstruction was taking place, namely, the lint house area, as well as the entire mill, thereby

damaging the Plaintiff.

WHEREFORE, THE PREMISES CONSIDERED, Saucier Investments demands

judgment against the Defendants in an amount to be determined by the jury and costs.

/s/ Robert T. Meadows, III
Robert T. Meadows, III (MEA012)
Attorney for the Plaintiff

OF COUNSEL:

Capell & Howard, P.C.
3120 Frederick Road, Suite B
Opelika, Alabama 36801
Telephone: (334) 501-1540
Facsimile: (334) 501-4512

Email: rtm@chlaw.com

Plaintiff demands a trial by struck jury.

/s/ Robert T. Meadows, III
Robert T. Meadows, IIT (MEA012)
Attomey for the Plaintiff
